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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                      Eastern Division

In re:                                                     )
                                                           )
KORI ELIZABETH THOMPSON                                    )
                                         Debtor.           )   Case No. 19-42210-399
                                                           )
NATIONSTAR MORTGAGE LLC D/B/A MR.                          )   Chapter 7
COOPER                                                     )
                       Movant,                             )
                                                           )
                              v.                           )   DOCKET NO. ____________
                                                           )
KORI ELIZABETH THOMPSON                                    )
                                         Respondent.       )


                       MOTION FOR RELIEF FROM AUTOMATIC STAY
                        AND MEMORANDUM IN SUPPORT THEREOF

         COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper and its subsidiaries, affiliates,
predecessors in interest, successors or assigns (“Movant”) by and through its attorneys, Melinda J.
Maune, Amy Tucker Ryan and the law firm of Martin Leigh PC, in support of Movant's Motion for
Relief from Automatic Stay states as follows:
         1.     On or about April 6, 2006, Kori Thompson (“Debtor”) and Travis E Thompson
executed and delivered to Chase Bank USA, N.A. a Note (“Note”) in the original principal amount of
$130,050.00. A true and correct copy of the Note and Loan Modification are attached hereto as Exhibit
“A” and incorporated herein by this reference.
         2.     The Note is secured by a Deed of Trust dated April 6, 2006, recorded on April 14, 2006,
in Book 04142006, Page 0249. The Deed of Trust was executed and delivered by Debtor and Travis E
Thompson to Chase Bank USA, N.A., securing the following property:
         THE EASTERN 40 FEET OF LOT 23 OF CRAWFORD PLACE AND IN BLOCK 4761-A
         OF THE CITY OF ST. LOUIS, HAVING A FRONT OF 40 FEET ON THE NORTH LINE
         OF ARTHUR BY A DEPTH NORTHWARDLY OF 155 FEET 6 INCHES TO AN ALLEY.

         The above-described property is also known as 5621 Arthur Ave, Saint Louis, Missouri 63139-
0000 (“Property”). A true and correct copy of the Deed of Trust is attached hereto as Exhibit “B” and
incorporated herein by this reference.
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       3.       Movant is the owner and holder of the Note and Deed of Trust. True and correct copies
of the Assignments of Deed of Trust are attached hereto as Exhibit “C” and incorporated herein by this
reference. Movant asserts it has the right to foreclose should stay relief be obtained.
       4.       Debtor filed for relief under Chapter 7 of the United States Bankruptcy Code on April
10, 2019.
       5.       Debtor has failed to make monthly payments to Movant for the months of October 2018
through April 2019, causing a post-petition payment arrearage in the amount of $7,754.16. Said
amount is comprised of:
             1. 7 regular monthly payments (10/2018-4/2019)@ $981.88 each                    $6,873.16
             2. Movant’s recoverable Attorney Fees ($700.00) and Costs ($181.00)             $881.00

       6.       The principal balance of this Note is $136,051.69.
       7.       Debtor has not offered Movant adequate protection for the payment of indebtedness
described herein, 11 U.S.C. § 362 (d)(2).
       8.       Upon information and belief, Debtor has little or no equity in the Property for the
benefit of the bankruptcy estate and said Property is not necessary for an effective reorganization. 11
U.S.C. §362(d)(2)(A) and §362(d)(2)(B).
       9.       To the extent the Trustee intends to the sell the Property, Movant requests that Movant
be provided adequate protection of its interest in the Property.
       10.      Movant requests that any order modifying the stay be effective immediately as allowed
under Federal Bankruptcy Rule 4001(a)(3).
       WHEREFORE, for the foregoing reasons, Movant prays that this Court enter an Order
granting relief from the automatic stay to enable Movant to exercise any and all rights provided under
non-bankruptcy law and as set forth in the Note and Deed of Trust granting it an interest in said
property, including but not limited to foreclosure of the Property, to pursue a short sale, deed in lieu of
foreclosure or other foreclosure alternatives, to exercise its rights under state law to obtain possession
of the property, that upon entry of an Order Granting Relief from Stay the collateral is deemed to be
abandoned by the Chapter 7 Trustee as an asset of the bankruptcy estate, that any order modifying the
stay be effective immediately as allowed under Fed. Rule Bankr. P. 4001(a)(3), and for such other and
further relief as is just and appropriate under the circumstances.



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                                          Respectfully submitted,
                                          MARTIN LEIGH P.C.
                                          /s/Melinda J. Maune
                                          Melinda J. Maune, #49797MO, mjm@martinleigh.com
                                          Amy Tucker Ryan, #49047MO, atr@martinleigh.com
                                          2405 Grand Blvd., Ste 410
                                          Kansas City, MO 64108
                                          Telephone:(816) 221-1430
                                          Fax:(816) 221-1044
                                          ATTORNEYS FOR MOVANT

                                    CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was filed electronically on the
30th day of April, 2019, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.

        I certify that a true and correct copy of the foregoing document was filed electronically with the
United States Bankruptcy Court, and has been served by Regular United States Mail Service, first
class, postage fully pre-paid, addressed to the parties listed below on the 30th day of April, 2019:

Kori Elizabeth Thompson
343 Autumn Creek Drive, Apt. A
Valley Park, MO 63088
                                                        /s/ Melinda J. Maune
                                                        Melinda J. Maune, Attorney for Creditor




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                       Movant,                          )
                                                        )
                              v.                        )   DOCKET NO. ____________
                                                        )
KORI ELIZABETH THOMPSON                                 )
                                      Respondent.       )


                                      SUMMARY OF EXHIBITS

         Pursuant to L.R. 9040-1, the following exhibits are referenced in support of Movant’s Motion
for Relief. Copies of these exhibits will be provided as required by Local Rules and are available upon
request:
                   A. Note & Loan Modification
                   B. Deed of Trust
                   C. Assignments of Deed of Trust
                                         Respectfully submitted,
                                         MARTIN LEIGH P.C.
                                         /s/Melinda J. Maune
                                         Melinda J. Maune, #49797MO, mjm@martinleigh.com
                                         Amy Tucker Ryan, #49047MO, atr@martinleigh.com
                                         2405 Grand Blvd., Ste 410
                                         Kansas City, MO 64108
                                         Telephone:(816) 221-1430
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30th day of April, 2019, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.

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Kori Elizabeth Thompson
343 Autumn Creek Drive, Apt. A
Valley Park, MO 63088
                                                        /s/ Melinda J. Maune
                                                        Melinda J. Maune, Attorney for Creditor




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